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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MICHIGAN   WELFARE   RIGHTS
ORGANIZATION, et al.

                  Plaintiffs,

v.                                       Civ. Action No. 20-3388 (EGS)

DONALD J. TRUMP, et al.,

                  Defendants.


                           MEMORANDUM OPINION

  I.     Introduction
       Plaintiffs Michigan Welfare Rights Organization (“MWRO”),

the National Association for the Advancement of Colored People

(“NAACP”), Maureen Taylor (“Ms. Taylor”), Nicole Hill (“Ms.

Hill”), and Teasha Jones (“Ms. Jones”) (collectively

“Plaintiffs”) bring this case against Defendants the Republican

National Committee (“RNC”), Donald J. Trump for President, Inc.

(the “Trump Campaign”), and Donald J. Trump (“former President

Trump”) (collectively “Defendants”), alleging violations of the

Voting Rights Act, 52 U.S.C. § 10307(b), and the Ku Klux Klan

Act, 42 U.S.C. § 1985(3), based on conduct alleged to have

occurred throughout the country around the 2020 Presidential




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Election. See generally Amended Complaint (“Am. Compl.”) ECF No.

8. 1

       Pending before the Court are four motions. Defendants move

to transfer this case to the United States District Court for

the Eastern District of Michigan, on the basis of the

convenience of the parties and witnesses, and in the interest of

justice. See Def. RNC’s Mem. in Supp. of its Mot. to Transfer

Venue Pursuant to 28 U.S.C. § 1404(A) (“Mot. to Transfer”), ECF

No. 21-1; Defs.’ Donald J. Trump and Donald J. Trump for

President Incorporated’s Notice of Joinder in Mot. to Transfer

Venue (“Trump Defs.’ Mot. to Transfer”), ECF No. 22. Plaintiffs

oppose this motion. See Pls.’ Resp. in Opp’n to Defs.’ Mot. to

Transfer Venue (“Pls.’ Transfer Opp’n”), ECF No. 23. In

addition, the RNC moves to dismiss this case for failure to

state a claim and lack of standing. See RNC’s Mot. to Dismiss

Pls.’ Amended Compl. (“RNC’s MTD”), ECF No. 24. The Trump

Defendants move to dismiss for failure to state a claim, lack of

personal jurisdiction, and lack of standing. See Mem. in Supp.

of Mot. to Dismiss Amended Compl. For Decl. and Injunctive

Relief on Behalf of Defs. Donald J. Trump and Donald J. Trump

for President, Inc. (“Trump Defs.’ MTD”), ECF No. 25-1.




1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.


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Plaintiffs oppose both motions. See Pls.’ Resp. in Opp’n to

Defs.’ Mots. To Dismiss (“Pls.’ MTD Opp’n”), ECF No. 35. On

March 31, 2022, Plaintiffs filed a Notice of Supplemental

Authority relevant to their 42 U.S.C. § 1985(3) claim. See

Notice of Supplemental Authority, ECF No. 46.

     Upon consideration of the motions, responses, and the

replies thereto, the applicable law and regulations, the entire

record and the materials cited therein, the Court DENIES

Defendants’ Motion to Transfer, ECF No. 21; DENIES the Trump

Defendants’ Motion to Transfer, ECF No. 22; GRANTS IN PART as to

Plaintiffs’ 52 U.S.C. § 10307(b) claim AND HOLDS IN ABEYANCE IN

PART as to Plaintiffs’ 42 U.S.C. § 1985(3) claim the RNC’s

Motion to Dismiss, ECF No. 24; and GRANTS IN PART as to

Plaintiffs’ 52 U.S.C. § 10307(b) claim AND HOLDS IN ABEYANCE IN

PART as to Plaintiffs’ 42 U.S.C. § 1985(3) claim the Trump

Defendants’ Motion to Dismiss, ECF No. 25.

  II.    Factual and Procedural Background

     Plaintiff MWRO is the Michigan state chapter of the

National Welfare Rights Union and is based in Detroit, Michigan.

See Am. Compl., ECF No. 8 ¶ 7. MWRO “conducts voter engagement

efforts targeted at low-income voters of color” and has members

“who reside in Detroit in Wayne County, Michigan, voted in the

November 2020 election, and cast a ballot for President.” Id.

Plaintiffs Maureen Taylor, Nicole L. Hill, and Teasha K. Jones


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reside in Detroit and cast their votes for President in the 2020

election. Id. ¶¶ 8-10. Plaintiff the NAACP is “the nation’s

largest and oldest civil rights grassroots organization” and

“has over 220,000 members nationwide.” Id. ¶ 12. It has “members

across the country who voted in the 2020 election and who plan

to vote in future elections, including in Michigan, Wisconsin,

Pennsylvania, Georgia, Arizona, and Nevada.” Id.

     Defendant Donald J. Trump was the forty-fifth President of

the United States. Id. ¶ 13. In November 2020, he was an

unsuccessful candidate for re-election to that office. Id. He is

domiciled in Florida, and asserts he was also domiciled there

when the events alleged in the Amended Complaint occurred. See

Trump Defs.’ MTD, ECF No. 25-1 at 8. Donald J. Trump for

President, Inc. (“Trump Campaign”), is a Virginia corporation

with a principal place of business in New York and an office in

Virginia. See id. The RNC is a national political party with its

principal place of business at 310 First Street S.E., Washington

D.C. See Mot. to Transfer, ECF No. 21 at 7.

     On November 20, 2020, Plaintiffs brought suit in this Court

against Defendants alleging: (1) Violation of Section 11(b) of

the Voting Rights Act (“VRA”), see 52 U.S.C. § 10307(b); and (2)

Conspiracy to Interfere with Civil Rights in Violation of 42




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U.S.C. § 1985(3). 2 See Am. Compl., ECF No. 8 ¶¶ 76-85. Plaintiffs

assert that Defendants conspired to prevent the counting of

legally cast ballots, see id. ¶¶ 20, 76-85; and that the

objective of Defendants’ conspiracy was to intimidate election

officials, disenfranchise and overturn the will of voters, and

ensure that then-President Trump remained President despite

losing the 2020 presidential election, see, e.g., id. ¶¶ 35-37.

For the purposes of the Motions to Dismiss, the Court assumes

the facts alleged in the complaint to be true and construes them

in Plaintiffs’ favor. See Baird v. Gotbaum, 792 F.3d 166, 169

n.2 (D.C. Cir. 2015).

     Plaintiffs argue that in furtherance of their conspiracy,

Defendants engaged in private coercion of election officials;

public intimidation of, and incitement of lawless action

against, election officials; and, through their agents, physical

violence, obstruction, and other intimidation—conduct

unprotected by the First Amendment. See Pls.’ MTD Opp’n, ECF No.

35 at 11. In support of this argument, Plaintiffs allege that

Defendants’ actions were carried out by agents under Defendants’

control, including Trump Campaign and RNC volunteers and state


2 The Court grants the Motions to Dismiss with respect to
Plaintiffs’ VRA claim, but holds in abeyance the Motions to
Dismiss with respect to the 42 U.S.C. § 1985(3) claim.
Accordingly, the Court does not consider the allegations as to
the 42 U.S.C. § 1985(3) claim in the Factual and Procedural
Background section of this opinion.


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Republican parties. Id. ¶¶ 2, 22, 56, 61-66. Defendants and

their agents “recruit[ed] volunteers for election-related

activities,” and, once the volunteers had “enlist[ed],” required

them “to participate in a training before engaging in certain

election-related activities.” Id. ¶¶ 62-63. The trainings were

designed to prime volunteers to engage in inappropriate

behavior, including intimidation and coercion, at polling places

and recount sites. Id. ¶ 66. Plaintiffs seek declaratory and

injunctive relief, as well as monetary damages. Id. at 30-31.

     Plaintiffs claim that Defendants’ conduct violating the VRA

falls into three main categories: (1) private coercion and

intimidation of election officials (by the Trump Defendants);

(2) public intimidation targeting election officials, including

through false accusations and implications of criminality and

incitement of illegal activity by others (by all Defendants,

including in conspiracy with one another); and (3) physical

violence or obstruction of counting lawful votes by agents (by

all Defendants, including in conspiracy with one another). See

Pls.’ MTD Opp’n, ECF No. 35 at 11. Allegations specific to each

category are discussed below.

       A. Allegations As To Private Coercion And Intimidation Of
          Election Officials

     Plaintiffs contend that: (1) former President Trump made

personal phone calls to two Republican canvassers in Wayne




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County, Michigan who agreed to certify Wayne County’s election

results, but who reversed course after receiving those calls and

furnished affidavits to the Trump Campaign stating their

opposition to certification, Am. Compl., ECF No. 8 ¶¶ 46-47; (2)

former President Trump made phone calls to the Governor of

Georgia and speaker of the Pennsylvania House of Representatives

pressuring them to overturn election results, id. ¶¶ 50, 52-53;

(3) former President Trump summoned the leaders of the Michigan

State Senate and State House to the White House, where they

participated in a meeting that included lawyers involved in

former President Trump’s efforts to overturn the election

results, id. ¶ 48; and (4) Trump Campaign representatives “spent

weeks” pressuring the Governor of Arizona “to echo President

Trump’s false claims about election fraud and cast doubt upon

the State’s results,” id. ¶ 54.

       B. Plaintiffs’ Allegations as to Public Intimidation
          Causing Others to Target Election Officials

     Plaintiffs state that: (1) the RNC hosted a press

conference at its Washington, D.C. headquarters, where former

President Trump’s personal lawyer, Rudolph Giuliani, falsely

asserted that Wayne County’s election results should not be

certified due to “illegitimate ballots,” and Trump Campaign

lawyer Sidney Powell stated that the 2020 election had involved

“the most unpatriotic acts I can even imagine,” and that




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“American patriots are fed up with the corruption from the local

level, to the highest level of our government” (an event that

the RNC subsequently amplified by retweeting a portion of

Powell’s remarks using its official Twitter account), Am.

Compl., ECF No. 8 ¶¶ 38-40, 72; (2) former President Trump

publicly attacked Philadelphia City Commissioner Al Schmidt,

falsely asserting that the Election in Philadelphia was

characterized by “a mountain of corruption and dishonesty,” id.

¶ 24; (3) former President Trump publicly branded Georgia’s

Secretary of State as “an enemy of the people,” suggested the

Georgia Secretary of State and Governor were implicated in

“massive voter fraud in Georgia,” and amplified a tweet from a

supporter saying that they “will soon be going to jail,” id. ¶

52; (4) the RNC allegedly routinely used its official Twitter

account (@GOP) to tweet links to the Trump Campaign’s hotline

for reporting purported election fraud and to repeat the false

claim that “THE DEMOCRATS WILL TRY TO STEAL THIS ELECTION” id. ¶

71; (5) the Arizona Republican Party’s official Twitter account

issued multiple tweets encouraging supporters to “give [their]

life for this fight” and “die for something,” id. ¶¶ 55, 60; (6)

the Chairperson of the Arizona Republican Party issued a tweet

endorsing military intervention to “stop this coup” and overturn

the election for former President Trump, id. ¶ 60; and (7)

Defendants engaged in highly militaristic marketing and


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recruitment efforts, including their designation of Trump

Campaign volunteers as an “Army for Trump,” who would need to

“enlist” and “fight” to overturn the election, id. ¶¶ 61- 62,

66, 70. Plaintiffs also state that Defendants’ supporters

directed grave intimidation, including rape and death threats,

at officials and judges connected to the election in various

states. Id. ¶¶ 32-34.

       C. Allegations as to Baseless Challenges, Physical
          Violence, Obstruction, and Other Intimidation by
          Agents

     Plaintiffs allege that (1) “Trump Campaign observers

encroached on physical spaces of vote tabulators to observe the

count and made verbal comments pressuring vote tabulators” and

“broke observation rules by frequently interrupting vote

counters, sometimes with harassing comments and questions,” Am.

Compl. ECF No. 8 ¶ 28; (2) “Trump Campaign observers also

baselessly challenged” the validity of ballots for various

reasons, “even though such challenges are clearly improper under

Wisconsin law,” id. ¶ 29; and (3) “[s]ome Trump Campaign

observers went even further . . . by becoming physically

aggressive with election volunteers,” including “one Trump

Campaign observer [who] had to be escorted from the [Milwaukee]

recount site after pushing an election official,” id. ¶ 30. The

Complaint also quotes the chairperson of the Republican Party of

Fond du Lac County, Wisconsin as acknowledging that the “GOP


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strategy” in Wisconsin post-election was “to disenfranchise

people.” Id. ¶ 31.

     On February 9, 2021 Defendants filed a Motion to Transfer

Venue, arguing that the majority of the alleged events took

place in Michigan. See Mot. to Transfer, ECF No. 21. The Trump

Defendants joined in this motion. See Trump Defs.’ Mot. to

Transfer, ECF No. 22. On February 24, 2021, the RNC moved to

dismiss the case for failure to state a claim and for lack of

standing. See RNC’s MTD, ECF No. 24. The Trump Defendants also

moved to dismiss on the same day, bringing similar arguments for

failure to state a claim and lack of standing, as well as

arguments of executive immunity and lack of personal

jurisdiction. See Trump Defs.’ MTD, ECF No. 25. Plaintiffs have

filed opposition to both sets of motions. See Pls.’ Transfer

Opp’n, ECF No. 23; Pls.’ MTD Opp’n, ECF No. 35. Defendants have

filed their replies. See RNC’s Reply in Supp. of its Mot. to

Transfer Venue (“Transfer Reply”), ECF No. 26; RNC Reply in

Supp. of its Mot. to Dismiss (“RNC’s MTD Reply”), ECF No. 37;

Reply in Supp. of Trump Defs.’ Mot. to Dismiss (“Trump Defs.’

MTD Reply”), ECF No. 38. On March 31, 2022, Plaintiffs filed a

Notice of Supplemental Authority relevant to their 42 U.S.C. §

1985(3) claim. See Plaintiffs’ Notice of Supplemental Authority,

ECF No. 46. Accordingly, the Court will hold in abeyance a

decision on the merits of Plaintiffs’ 42 U.S.C. § 1985(3) claim


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pending completion of briefing on the Notice. 3 Otherwise, the

motions are ripe and ready for adjudication.

    III. Standard of Review

         A. Subject Matter Jurisdiction

      Federal district courts are courts of limited jurisdiction

and “possess only that power conferred by [Article III of the]

Constitution and [by] statute.” Logan v. Dep’t of Veterans

Affairs, 357 F. Supp. 2d 149, 152 (D.D.C. 2004)

(quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994)). “There is

a presumption against federal court jurisdiction and the burden

is on the party asserting the jurisdiction, the plaintiff in

this case, to establish that the Court has subject matter

jurisdiction over the action.” Id. at 153 (citing McNutt v. Gen.

Motors Acceptance Corp. of Ind., 298 U.S. 178, 182–83, 56 S. Ct.

780, 80 L. Ed. 1135 (1936)).

      The requirement of “standing is an essential and unchanging

part of the case-or-controversy requirement of Article III.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130,

119 L. Ed. 2d 351 (1992). “[T]he defect of standing is a defect




3 The Court addresses issues of subject matter and personal
jurisdiction in this Memorandum Opinion, since they are
preliminary to the merits of the 42 U.S.C. § 1985(3) claim,
unaffected by the supplemental authority and relevant for
Plaintiffs’ VRA claim.


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in subject matter jurisdiction.” Haase v. Sessions, 835 F.2d

902, 906 (D.C. Cir. 1987). There are three requirements for

standing:

            First, the plaintiff must have suffered an
            “injury in fact”—an invasion of a legally
            protected interest which is (a) concrete and
            particularized, and (b) “actual or imminent,
            not ‘conjectural’ or ‘hypothetical.’” Second,
            there must be a causal connection between the
            injury and the conduct complained of—the
            injury has to be “fairly . . . trace[able] to
            the challenged action of the defendant, and
            not . . . th[e] result [of] the independent
            action of some third party not before the
            court.” Third, it must be “likely,” as opposed
            to merely “speculative,” that the injury will
            be “redressed by a favorable decision.”

Lujan, 504 U.S. at 560–61 (citation omitted).

     In assessing whether a complaint sufficiently alleges

subject matter jurisdiction, the Court accepts as true the

allegations of the complaint, see Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937 (2009); and liberally construes the

pleadings such that the plaintiff benefits from all inferences

derived from the facts alleged, Barr v. Clinton, 370 F. 3d 1196,

1199 (D.C. Cir. 2004).

     However, “[a] pleading that offers labels and conclusions

or a formulaic recitation of the elements of a cause of action

will not do. Nor does a complaint suffice if it tenders naked

assertions devoid of further factual enhancement.” Iqbal, 556

U.S. at 678 (citations, quotation marks and brackets omitted).



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Consequently, “[a] claim invoking federal-question jurisdiction

under 28 U.S.C. § 1331 ... may be dismissed for want of subject

matter jurisdiction if it is not colorable, i.e., if it

is immaterial and made solely for the purpose of obtaining

jurisdiction or it is wholly insubstantial and

frivolous.” Arbaugh, 546 U.S. 500, 513 n.10, 126 S. Ct. 1235

(2006) (citation omitted); accord Tooley v. Napolitano, 586 F.3d

1006, 1009 (D.C. Cir. 2009) (citation omitted).

       B. Rule 12(b)(2) Motion to Dismiss

     Under Rule 12(b)(2), a defendant may move to dismiss an

action when the court lacks personal jurisdiction. Fed. R. Civ.

P. 12(b)(2). On such a motion, the plaintiff bears the burden of

establishing a factual basis for the exercise of personal

jurisdiction over each defendant. Crane v. N.Y. Zoological

Soc’y., 894 F.2d 454, 456 (D.C. Cir. 1990). To meet this burden,

the plaintiff must allege specific facts that connect each

defendant with the forum. Second Amendment Found. v. U.S.

Conference of Mayors, 274 F.3d 521, 524 (D.C. Cir. 2001). The

plaintiff cannot rely merely on conclusory allegations.

Atlantigas Corp. v. Nisource, Inc., 290 F. Supp. 2d 34, 42

(D.D.C. 2003). The court may consider, receive, and weigh

affidavits and other relevant materials outside of the pleadings

to assist it in determining the pertinent jurisdictional facts.




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U.S. v. Philip Morris Inc., 116 F. Supp. 2d 116, 120 n.4 (D.D.C.

2000).

     A “court’s exercise of personal jurisdiction over

nonresidents must satisfy both the Due Process Clause and D.C.’s

long-arm statute.” Cockrum v. Donald J. Trump for President,

Inc., 319 F. Supp. 3d 158, 173 (D.D.C. 2018) (citation omitted).

To satisfy due process requirements, “a plaintiff must

demonstrate that there are ‘minimum contacts between the

defendant and the forum establishing that the maintenance of the

suit does not offend traditional notions of fair play and

substantial justice.’” Swecker v. Midland Power Coop., 253 F.

Supp. 3d 274, 278 (D.D.C. 2017) (citation omitted). The court

may exercise either general or specific personal jurisdiction.

The Urban Institute v. Fincon Services, 681 F. Supp. 2d 41, 44

(D.D.C. 2010).

     “A court with general jurisdiction may hear any claim

against that defendant.” Brystol-Myers Squibb Co. v. Superior

Court of California, San Francisco Cty., 137 S. Ct. 1773, 1780

(2017). For an individual, the “paradigm forum” for the exercise

of general jurisdiction is the individual’s domicile; for a

corporation, it is an equivalent place, one in which the

corporation is fairly regarded as at home. Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 924, 131 S. Ct. 2846

(2011).


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     In contrast, “[s]pecific jurisdiction is confined to

adjudication of issues deriving from, or connected with, the

very controversy that establishes jurisdiction.” Molock v. Whole

Foods Mkt., Inc., 297 F. Supp. 3d 114, 122 (D.D.C. 2018)

(quoting Goodyear, 562 U.S. at 919). “[S]pecific jurisdiction

exists if a claim is related to or arises out of the non-

resident defendant’s contacts with the forum.” Molock, 297 F.

Supp. 3d at 122. A plaintiff must demonstrate “that specific

jurisdiction comports with the forums long-arm statute, D.C.

Code § 13-423(a), and does not violate due process.” Id. (citing

FC Inv. Group LC v. IFX Markets Ltd., 529 F.3d 1087, 1094-65

(D.C. Cir. 2008)).

       C. Transfer Pursuant to 28 U.S.C. § 1404(a)

     28 U.S.C. § 1404(a) authorizes a court to transfer an

action to any other district where it might have been brought

“for the convenience of the parties and witnesses, in the

interest of justice.” The purpose of § 1404(a) “is to prevent

the waste of time, energy, and money, and to protect litigants,

witnesses, and the public from unnecessary inconvenience and

expense.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964).

District courts accordingly have discretion under § 1404(a) to

transfer a case based on an “individualized case-by-case

consideration of convenience and fairness.” Berry v. U.S. Dep’t

of Justice, 49 F. Supp. 3d 71, 74 (D.D.C. 2014) (citing Stewart


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Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988)); see also

Beall v. Edwards Lifesciences LLC, 310 F. Supp. 3d 97, 102-103

(D.D.C. 2018) (Sullivan, J.); Nat’l Wildlife Fed’n v. Harvey,

437 F. Supp. 2d 42, 45 (D.D.C. 2006). Section 1404(a) is meant

to be a “judicial housekeeping measure” rather than a “forum-

shopping instrument.” Van Dusen, 376 U.S. at 636.

     Defendants bear the “heavy burden of establishing that

[P]laintiffs’ choice of forum is inappropriate” such that this

Court should transfer this case out of this District pursuant to

28 U.S.C. § 1404(a). Jalloh v. Underwood, 300 F. Supp. 3d 151,

155-56 (D.D.C. 2018) (citing Thayer/Patric of Educ. Funding

L.L.C. v. Pryor Res., Inc., 196 F. Supp. 2d 21, 31 (D.D.C.

2002)); Aracely, R. v. Nielsen, 319 F. Supp. 3d 110, 127 (D.D.C.

2018); see also Garcia v. Acosta, 393 F. Supp. 3d 93, 108

(D.D.C. 2019); Accurso v. Fed. Bureau of Prisons, Case No. 17-

CV-02626 (APM), 2018 WL 4964501, at *2 (D.D.C. Oct. 15, 2018).

To satisfy this burden, defendants “must show that

considerations of convenience and the interest of justice weigh

in favor of transfer.” Jalloh, 300 F. Supp. 3d at 155 (internal

quotation marks and citations omitted).

     To justify a transfer, defendants must make two showings.

Devaughn v. Inphonic, Inc., 403 F. Supp. 2d 68, 71 (D.D.C.

2005). First, they must establish that the plaintiff could have

brought suit in the proposed transferee district. Id. at 71-72.


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Pursuant to 28 U.S.C. § 1391(b), a suit may be brought in a

judicial district: (1) where “any defendant resides, if all

defendants are residents of the State in which the district is

located”; (2) where “a substantial part of the events or

omissions giving rise to the claim occurred”; or (3) if there is

no judicial district where the case may be brought as provided

by the first two categories, where “any defendant is subject to

the court’s personal jurisdiction.” Second, defendants must

demonstrate that considerations of convenience and the interests

of justice weigh in favor of a transfer. Devaughn, 403 F. Supp.

2d at 71; Berry, 49 F. Supp. 3d at 75. To determine whether

“considerations of convenience and the interests of justice

weigh in favor of a transfer,” courts consider several private-

interest factors, including: (1) the plaintiff’s choice of

forum, unless the balance of convenience is strongly in favor of

the defendant; (2) the defendant’s choice of forum; (3) whether

the claim arose elsewhere; (4) the convenience of the parties;

(5) the convenience of the witnesses; and (6) the ease of access

to sources of proof.” Beall, 310 F. Supp. 3d at 103. Courts also

consider whether certain public- interest factors weigh in favor

of transfer, including “(1) the transferee’s familiarity with

the governing laws, (2) the relative congestion of each court,

and (3) the local interest in deciding local controversies at

home.” Id.


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    IV.   Analysis

      The RNC argues that this case should be transferred to the

Eastern District of Michigan. See Mot. to Transfer, ECF No. 21

at 8. The RNC also moves to dismiss the case, arguing that

Plaintiffs’ VRA claim fails because: (1) there is no private

right of action under § 11(b); (2) relief under the VRA is

limited to injunctive relief, which Plaintiffs lack standing to

seek; (3) Plaintiffs’ VRA claim is moot, and (4) none of the

conduct alleged amounts to a violation of the VRA. See RNC’s

MTD, ECF No. 24 at 9, 13.

      The Trump Defendants reiterate the RNC’s argument that

Plaintiffs’ VRA claim should be dismissed because the

allegations do not amount to a violation of the VRA. See Trump

Defs.’ MTD, ECF No. 25-1 at 15, 20, 25. Like the RNC, the Trump

Defendants challenge Plaintiffs’ standing to bring the VRA

claim. See id. at 28. In addition, the Trump Defendants argue

that Plaintiffs cannot meet their burden of establishing the

Court’s personal jurisdiction over Defendants, see id. at 26. 4

      Since several arguments presented by the Trump Defendants

and the RNC are overlapping, the Court considers all the


4 At this time, the Court does not address any of Defendants’
arguments on the merits of the 42 U.S.C. § 1985(3) claim. It
also need not reach the issue of whether former President Trump
is immune from monetary damages and whether Plaintiffs have
alleged an agency relationship between Defendants and Trump
Campaign Observers.


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arguments together. “[A] federal court generally may not rule on

the merits of a case without first determining that it has

jurisdiction over the cause (subject-matter jurisdiction) and

the parties (personal jurisdiction).” Sinochem Int’l Co. v.

Malaysia Int’l Shipping Corp., 549 U.S. 422, 423, 127 S. Ct.

1184 (2007) (citation omitted). This includes determining

whether the Court has Article III standing before addressing the

merits of a case. Grocery Mfrs. Ass’n v. E.P.A., 693 F.3d 169,

179 (D.C. Cir. 2012). However, there is no mandatory sequencing

of non-merits issues. Ruhrgas AG v. Marathon Oil Co., 526 U.S.

574, 584, 119 S.Ct. 1563 (1999); see also Everlast World’s

Boxing Headquarters Corp. v. Ringside, Inc., 928 F. Supp. 2d

735, 741 (S.D.N.Y. 2013) (stating that “it is common to resolve

challenges to personal jurisdiction before

addressing motions to transfer venue”) (citation omitted).

     Accordingly, the Court first considers whether: (1) it has

personal jurisdiction over the Trump Defendants and concludes

that it does; (2) Plaintiffs’ VRA claim is moot and concludes

that it is not; and (3) Plaintiffs lack standing and concludes

that they do. Having resolved these preliminary questions, the

Court considers whether: (4) transfer to the Eastern District of

Michigan is appropriate and concludes that it is not. The Court

need not reach any remaining arguments while holding in abeyance




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the Motions to Dismiss in regard to Plaintiffs’ 42 U.S.C §

1985(3) claim.

       A. The Court Has Personal Jurisdiction Over the Trump
          Defendants

     This Court is presented with an argument that is perhaps as

unprecedented as it is outlandish: the former President of this

country denying that he lived in and had minimum contacts with

the country’s capital and the White House during his time as

President. Specifically, the Trump Defendants argue that this

Court lacks personal jurisdiction because “[n]either President

Trump nor the Campaign are subject to general jurisdiction in

the District of Columbia,” and “[a]ny effort to subject

Defendants to this Court’s specific jurisdiction based on their

constitutionally protected activities, including any action

President Trump has performed in discharging his duties as

President of the United States, cannot comport with the limits

imposed on the District of Columbia by federal due process.”

Trump Defs.’ MTD, ECF No. 25-1 at 28. Plaintiffs respond that

this Court has both specific and general jurisdiction because

“former President Trump was the candidate and the de facto

leader of the Trump Campaign, and he lived and worked in the

District of Columbia as he guided the Trump Campaign’s effort to

disenfranchise Plaintiffs.” Pls.’ MTD Opp’n, ECF No. 35 at 22.

The Trump Defendants reply that former President Trump was



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domiciled in Florida, and that “any constitutionally protected

acts alleged against the former President or his supposed agents

cannot be used to assert specific jurisdiction.” Trump Defs.’

MTD Reply, ECF No. 38 at 9. The Court finds it has both general

and specific jurisdiction over former President Trump, and

specific jurisdiction over the Trump Campaign. 5

     For an individual, the “paradigm forum” for the exercise of

general jurisdiction is the individual’s domicile; for a

corporation, it is where the corporation is incorporated or has

its primary place of business. Goodyear, 564 U.S. at 924.

“Residence in fact, coupled with the purpose to make the place

of residence one’s home, are the essential elements of

domicile.” Texas v. Florida, 306 U.S. 398, 424 (1939); see also

Prakash v. Am. Univ., 727 F.2d 1174, 1180 (D.C. Cir. 1984). On

the other hand, to establish specific personal jurisdiction, the

defendant must have “minimum contacts” with D.C. IMAPizza, LLC

v. At Pizza Ltd., 334 F. Supp. 3d 95, 113 (D.D.C. 2018).

“Specific jurisdiction exists if a claim is related to or arises

out of the non-resident defendant’s contacts with the forum.”

Molock, 297 F. Supp. 3d at 122. A plaintiff must demonstrate

“that specific jurisdiction comports with the forums long-arm




5 The Court need not reach the issue of general jurisdiction over
the Trump Campaign.


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statute, D.C. Code § 13-423(a), and does not violate due

process.” Id. (citation omitted).

     When responding to a motion to dismiss based on personal

jurisdiction, without an evidentiary hearing, a plaintiff need

only make a prima facie showing that the court has personal

jurisdiction over the defendant. Edmond v. U.S. Postal Service

General Counsel, 949 F.2d 415, 424 (D.C. Cir. 1991). To meet

this burden, the plaintiff must allege specific facts that

connect each defendant with the forum. Second Amendment Found.,

274 F.3d at 524. Any “factual discrepancies appearing in the

record must be resolved in favor of the plaintiff.” Crane, 894

F.2d at 456 (citing Reuber v. United States, 750 F.2d 1039, 1052

(D.C. Cir. 1984)).

     Here, as Plaintiffs point out, former President Trump, then

President of the United States of America, was living and

working in the District of Columbia (“D.C.”). See Pls.’ MTD

Opp’n, ECF No. 35 at 21. Although the Trump Defendants assert

that former President Trump is domiciled in Florida, see Trump

Defs.’ MTD, ECF No. 25-1 at 27; as late as September 27, 2019,

then-President Trump identified the White House as his legal

residence. Florida Voter Registration Application, ECF No. 25-2

at 1. On October 28, 2019, he claimed Mar-A-Lago in Palm Beach,

Florida, as his legal residence on a voter registration form,

see id. at 2; but as the Trump Defendants themselves point out,


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the State of Florida form permits claiming residence so long as

a person “maintains a place of abode in that county which he or

she recognizes and intends to maintain as his or her permanent

home.” § 222.17, Fl. Stat. (2020) (emphasis added). At the time

former President Trump filled out the form, he may well have

intended to move to Florida in the event he lost the election,

but his intention to move to Florida does not establish domicile

there. See Erickson v. TD Bank, No. 19-cv-13641, 2021 WL 118928,

at *2 (D.N.J. Jan. 13, 2021) (holding that intent to move was

not enough for domicile; Plaintiff must actually have done so).

     As former President Trump concedes, “[t]he White House was

his duty station,” Trump Defs.’ MTD Reply, ECF No. 38 at 9; even

if he “regularly went to his beloved home state of Florida,” id.

Former President Trump’s argument against jurisdiction in D.C.

essentially amounts to an assertion that he was not at home at

his “duty station,” even while being the highest elected

official of this country seeking reelection to that office.

Drawing all inferences in Plaintiffs’ favor, as the Court must

at this juncture, the Court is persuaded that former President

Trump’s residence in fact while President of the United States,

regardless of any intention to relocate to Florida, was

Washington D.C. See Trump Defs.’ Reply, ECF No. 38 at 9

(acknowledging D.C. as former President Trump’s “duty station,”

and stating that he only “regularly went” to Florida).


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Accordingly, the Court concludes that former President Trump was

subject to general jurisdiction in D.C. while serving out his

term as President.

     Moreover, and as Plaintiffs point out, it was from D.C.

that former President Trump made “many, perhaps all, of the

private and public statements that constituted or incited

coercion, threats, and intimidation of state officials.” Pls.’

MTD Opp’n, ECF No. 35 at 21. Plaintiffs also allege that the

Trump Campaign took actions within D.C. to disenfranchise

Plaintiffs and other Black voters, see id. at 22 (citing Am.

Compl., ECF No. 8 ¶¶ 38, 40, 54-55, 59); and further argue that

“former President Trump was the candidate and the de facto

leader of the Trump Campaign” and guided the Campaign’s actions

out of D.C., id. Drawing all inferences in Plaintiffs’ favor,

the Court finds that Plaintiffs have made a prima facie showing

that the court has specific personal jurisdiction over the Trump

Defendants. See Edmond, 949 F.2d at 424.

     The Trump Defendants counter that the Trump Campaign’s

activities in D.C. were “almost exclusively press conferences,

social media posts, meetings with political supporters, and

phone calls to election officials,” and are “all protected by

the First Amendment,” such that “using them to subject the Trump

Defendants to the jurisdiction of the Court offends traditional

notions of fair play and substantial justice.” Trump Defs.’ MTD


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Reply, ECF No. 9 38 at 9-10. However, at this juncture, the

Court must draw all factual discrepancies as to the nature of

the activities in favor of Plaintiffs. See Crane, 894 F.2d at

456.

       More importantly, the Trump Defendants misunderstand the

constitutional due process limitations on jurisdiction. Contrary

to the Trump Defendants’ assertion, the Court is unaware of, and

the Trump Defendants do not point to, any authority that states

that constitutionally-protected acts cannot give rise to

personal jurisdiction. See Trump Defs.’ MTD Reply, ECF No. 38 at

9. The question for the Court for the purposes of specific

jurisdiction is not whether the acts in the forum state are

constitutionally protected, but rather whether the defendant has

“certain minimum contacts with [the forum] such that the

maintenance of the suit does not offend traditional notions of

fair play and substantial justice.” International Shoe, 326 U.S.

at 316 (citation and quotation marks omitted). Defendants

present no argument contesting the extent of the contacts, and

indeed, the Court would be highly skeptical of any argument that

the President and his reelection campaign lacked contacts to

D.C. in a case challenging their conduct during the reelection.

The Court concludes that it has specific jurisdiction over the

Trump Defendants.




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       B. Plaintiffs’ VRA Claim Is Not Moot

     The RNC argues that Plaintiffs’ claims for injunctive

relief “became moot before the action commenced.” RNC’s MTD, ECF

No. 24 at 13 (citations and quotation marks omitted). Plaintiffs

respond that the RNC’s argument “improperly conflates the

separate inquiries as to mootness and standing,” and that “the

2020 election’s passage into history does not obviate

Plaintiffs’ entitlement to injunctive relief.” Pls.’ Opp’n, ECF

No. 35 at 17. The RNC replies that “any suggestion that the

election remains ongoing is unserious,” and that “[the VRA]

claim is moot unless the alleged injury is capable of repetition

yet evading review.” RNC Reply, ECF No. 37 at 13 (quoting

Laidlaw, Inc., 528 U.S. at 190-91). The Court concludes that

Plaintiffs’ claims regarding injunctive relief are not moot

because they are “capable of repetition yet evading review”. 6

     “Simply stated, a case is moot when the issues presented

are no longer ‘live’ or the parties lack a legally cognizable

interest in the outcome.” Powell v. McCormack, 395 U.S. 486,

496 (1969). A court may not proceed to hear an action if,

subsequent to its initiation, the dispute loses “its character

as a present, live controversy of the kind that must exist if

[the court is] to avoid advisory opinions on abstract


6 Defendants do not suggest that Plaintiffs’ claims for
declaratory relief are moot.


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propositions of law.” Hall v. Beals, 396 U.S. 45, 48 (1969) (per

curiam). “Where the conduct has ceased for the time being but

there is a demonstrated probability that it will recur, a real-

life controversy between parties with a personal stake in the

outcome continues to exist.” Honig v. Doe, 484 U.S. 305,

341 (1988) (SCALIA, J., dissenting) (emphasis deleted); see also

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,

528 U.S. 167, 170 (2000).

     As the RNC argues, although the certification of the

election was pending in some States when this lawsuit was filed,

the election has since been certified and a new administration

has taken office. See RNC’s MTD, ECF No. 24 at 13. Any claims

asserting the need for injunctive relief concerning

certification for the 2020 election are therefore necessarily

moot. However, it does not follow that Plaintiffs’ claims for

forward looking relief, declaratory judgment and for damages

under 42 U.S.C. § 1985(3) are moot. The RNC argues there is no

likelihood of the repetition of the alleged conduct and cites to

a series of cases involving relief for past elections where the

claims were dismissed for mootness. See Virginians Against a

Corrupt Congress v. Moran, 1993 WL 260710 (D.C. Cir. 1993)

(granting a motion to dismiss for mootness because “[t]he

passage into history of the 1992 election makes it impossible

for this or any court to grant meaningful relief with respect to


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that election”); see also Keane v. Nat’l Democratic Party, 475

F.2d 1287, 1288 (D.C. Cir. 1973); Flynt v. Weinberger, 762 F.2d

134, 135 (D.C. Cir. 1985). But these cases requested relief for

a past election, whereas Plaintiffs here also seek an injunction

to prevent future voter intimidation. See Am. Compl., ECF No. 8

¶¶ 30, 75. The question, accordingly, is whether is whether the

alleged injury is capable of repetition yet evading review.

Laidlaw, Inc., 528 U.S. at 190-91.

     The RNC correctly points out that unlike the four cases

cited in support by Plaintiffs, Plaintiffs’ claim “is not a

challenge to the constitutionality of a state law on the books.”

RNC’s MTD Reply, ECF No. 37 at 15. The Court also agrees with

the RNC that this case is more similar to Herron, where a

candidate for Congress claimed that his opponent had violated

the law by failing to make certain disclosures. See Herron for

Congress v. FEC, 903 F. Supp. 2d 9, 14-15 (D.D.C. 2012). The

election had been over for two years, but the candidate claimed

to be “considering a run for office in the future.” Id. at 14.

The Court found the case to be moot, because mere

“consider[ation of] a run for office in the future” is too

speculative, and because even if the candidate were to run for

office again, it was only a “theoretical possibility” that he

would be subjected to the same action again. Id.




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     In the present case, however, Plaintiffs adequately allege

“a demonstrable probability that [they] will be subjected to the

same action again.” Id. (quotation marks omitted). Plaintiffs

allege that: (1) the RNC is involved “in most elections for key

offices,” and was only recently released from a 35-year consent

decree prohibiting it from engaging in election intimidation

behavior, see Am. Compl., ECF No. 8 ¶ 75; and (2) former

President Trump is “reported[ly] interest[ed] in campaigning for

President in 2024” and has raised “at least $207.5 million since

the election, a significant amount of which has been directed to

former President Trump’s new political action committee, Save

America PAC,” id. The RNC does not deny these allegations. See

generally RNC’s MTD, ECF No. 24; RNC’s MTD Reply, ECF No. 37.

Plaintiffs have also alleged former President Trump’s refusal to

withdraw his many falsehoods regarding voter fraud or to stop

intimidating officials in the face of evidence, reason and even

requests from RNC officials. See, e.g., Am. Compl., ECF No. 8 ¶¶

51-55. Drawing all inferences in Plaintiffs’ favor, it is

therefore not just “speculation to assert ... that [Defendants

themselves] will again be involved” in disenfranchising voters,

including Plaintiffs, and intimidating and coercing election

officials. RNC’s MTD, ECF No. 24 at 14. The Court concludes that

Plaintiffs have sufficiently pled a risk of future harm to

voting rights involving the same actors as in this case.


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       C. Plaintiffs Lack Standing to Bring this Case

     The RNC argues that “[e]ven if § 11(b) had a private right

of action, Plaintiffs lack standing to bring such a claim.”

RNC’s MTD, ECF No. 24 at 11. The RNC adds that equitable relief

is the only relief available under the VRA, and Plaintiffs’

request for damages can therefore not apply even if they have

standing. Id. at 11-12. The Trump Defendants bring a narrower

standing challenge, arguing that “Plaintiffs do not have

standing to assert a third-party Voting Rights Act claim on

behalf of voters in a state other than Michigan.” Trump Defs.’

MTD, ECF No. 25-1 at 28. The Court addresses each of these

arguments in turn, beginning with the threshold question of

whether § 11(b) offers a private right of action.

              1. Section 11(b) of the VRA Creates a Private Right
                 of Action

     The RNC argues that “under the approach that this Court

applies today, § 11(b) plainly lacks a private right of action.”

RNC’s MTD, ECF No. 24 at 11. The RNC contends that “[§] 12 of

the Act, 52 U.S.C. § 10308, provides the exclusive methods for

enforcing § 11,” and authorizes only the Attorney General, and

not a private party, to seek equitable relief. Id. at 9.

Plaintiffs respond that § 11(b) has a well-established implied

private right of action, citing cases in support, and cite Allen

v. State Board of Elections, 393 U.S. 544 (1969), and Morse v.




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Republican Party of Virginia, 517 U.S. 186 (1996), as

recognizing private rights of action for other provisions in the

VRA. See Pls.’ Opp’n, ECF No. 35 at 26-27. Plaintiffs point out

that Morse was decided after the advent of the new interpretive

era ushered in by Alexander v. Sandoval, 532 U.S. 275, 290

(2001). Id. at 28. Plaintiffs add that “statutory intent remains

the guiding principle in the implied right of action analysis,”

and that “Congress’s intent in enacting the VRA was to create a

private right of action.” Id. at 28-29. The RNC replies that

Allen and Morse are part of a “bygone era,” and that there is

nothing in the text of § 11(b) or “the rest of the [VRA] statute

that purports to create a private right of action for § 11(b).”

RNC Reply, ECF No. 37 at 17. The Court concludes that precedent

and direction from the Court of Appeals for the District of

Columbia Circuit (“D.C. Circuit”) and the Supreme Court support

a finding of a private right of action.

     Section 11(b) of the Voting Rights Act, 52 U.S.C. §

10307(b), indisputably contains no express private right of

action. Section 12 of the Act, 52 U.S.C. § 10308, provides that

violations of certain sections of the Act can be criminally

prosecuted, id. §§ 10308(a)-(c), and that the Attorney General

can bring civil actions for injunctive relief against persons

who have engaged in or are about to engage in the conduct that

§ 11 prohibits, id. § 10308(d). However, a series of subsequent


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decisions found implied rights in other provisions of the VRA.

First, in Allen, the Supreme Court found an implied private

right of action to enforce § 5 of the VRA, which, like VRA §

11(b), is silent about a private right of action and can be

enforced by the Attorney General under § 12. Allen, 393 U.S. at

555-56. The Supreme Court explained that to interpret § 12 as

limiting the ability of private individuals to bring suit under

the VRA would contradict Congress’s intent to “make the

guarantees of the Fifteenth Amendment finally a reality for all

citizens.” Id. at 556. The Court reasoned that “[t]he

achievement of the [VRA’s] laudable goal could be severely

hampered [] if each citizen were required to depend solely on

litigation instituted at the discretion of the Attorney General.

. . . It is consistent with the broad purpose of this Act to

allow the individual citizen standing.” Id. at 556-57.

     In the decades that followed, the Supreme Court grew

increasingly wary of creating implied rights of action. See

Sandoval, 532 U.S. at 286 (explaining that the prior approach

was “abandoned” in Cort v. Ash, 422 U.S. 66 (1975)).

Nevertheless, over two decades after Cort ushered in a new era,

in Morse, the Supreme Court found an implied private right of

action under § 10 of the VRA. See Morse, 517 U.S. at 232. The

Court stated that its finding of a private right of action in

Allen was reinforced by subsequent amendments to the VRA, in


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which Congress amended § 3 (Proceeding to Enforce the Right to

Vote) to allow suits under any section of the VRA not just by

the Attorney General but also “‘an aggrieved person’” and added

§ 14(e) to provide for attorneys’ fees to prevailing parties

“‘other than the United States.’” Id. at 233-34 (quoting 52

U.S.C. §§ 10302(a), 10310(e) (emphasis added)). The Court

further recognized a private right of action under § 2 and

observed that “[i]t would be anomalous, to say the least, to

hold that both § 2 and § 5 are enforceable by private action but

§ 10 is not, when all lack the same express authorizing

language.” Id. at 232.

     After Morse, the Supreme Court continued on the path it

adopted in Cort. See Sandoval, 532 U.S. at 290 (“The express

provision of one method of enforcing a substantive rule suggests

that Congress intended to preclude others.”); Ziglar v. Abbasi,

137 S. Ct. 1843, 1856 (2017) (“[S]eparation-of-powers

principles” now make the Supreme Court “cauti[ous]” about

recognizing implied causes of action.”) Thus, “[h]aving sworn

off the habit of venturing beyond Congress’s intent,” Sandoval,

532 U.S. at 287; [t]he judicial task is to interpret the statute

Congress has passed to determine whether it displays an intent

to create” a private cause of action, id. at 286, 290. See also

Ziglar, 137 S. Ct. at 1855 (explaining in the context of § 1983

that “[t]he determinative question is one of statutory intent”).


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The D.C. Circuit has acknowledged that to “recognize an implied

cause of action, we have to conclude that Congress intended to

provide a cause of action even though Congress did not expressly

say as much in the text of the statute,” which is a high bar to

clear.” Johnson v. Interstate Mgmt. Co., 849 F.3d 1093, 1097-98

(D.C. Cir. 2017).

     In the post-Cort and Sandoval era, persuasive authority

across multiple districts has found congressional intent to

create an implied right of action for § 11(b) specifically

within the statutory text, meeting the “high bar” for implied

causes of action. See Nat’l Coal. on Black Civic Participation

v. Wohl (“NCBCP I”), 498 F. Supp. 3d 457, 476 (S.D.N.Y.

2020), reconsideration denied, No. 20 CIV. 8668 (VM), 2020 WL

6365336 (S.D.N.Y. Oct. 29, 2020) (“Defendants contend that

Section 11(b) affords no private right of action. That is

incorrect.”); see also Rhodes v. Siver, No. 19 Civ. 12550, 2021

WL 912393, at *1-2 (E.D. Mich. Mar. 10, 2021 (“Consistent with

Section 11(b)’s broad reach . . . private parties may sue to

enforce Section 11(b).”) (Citation omitted); Council on Am.-

Islamic Rel’ns Minn. v. Atlas Aegis, LLC, No. 20 Civ. 2195, 2020

WL 6336707, at *4 (D. Minn. Oct. 29,2020) (assuming private

right of action); League of United Latin Am. Citizens v. Pub.

Interest Legal Found. (“LULAC”), No. 18-cv-00423, 2018 WL

3848404, at *3 (E.D. Va. Aug. 13, 2018) (same). Even under the


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more demanding standard imposed by Sandoval and Ziglar, the

Court is not aware of, and the RNC does not point to, a single

case denying a private right of action under VRA § 11(b).

     Contrary to the RNC’s assertion, the present Supreme Court

approach does not hold that “no private right of action can be

implied.” RNC’s MTD, ECF No. 24 at 10. Rather, to find an

implied right of action, the question for the Court, as the RNC

itself acknowledges, is whether “the statute itself”

“‘displa[ys] an intent’ to create ‘a private remedy.’” Ziglar,

137 S. Ct. at 1856 (quoting Sandoval, 532 U.S. at 286-87). In

Morse, the Supreme Court addressed precisely this question when

discussing § 10 of the VRA, and found that Congress’ intent in

enacting the VRA, displayed in the statutory text, was to create

a private right of action. Morse, 517 U.S. at 233. As the Court

explained, although “[§] 3 originally provided for special

procedures in any action brought under any statute to enforce

the guarantees of the fifteenth amendment by the Attorney

General . . . [i]n 1975, Congress amended that section to cover

actions brought by the Attorney General or an aggrieved person.”

Id. Consequently, § 3 of the VRA, which applies to any

“[p]roceeding to enforce the right to vote,” now specifically

covers “an aggrieved person institut[ing] a proceeding under any

statute to enforce the voting guarantees of the fourteenth or

fifteenth amendment.” 52 U.S.C.A. § 10302. Since § 11(b) is,


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like § 10, “by its terms, a statute designed for enforcement of

the guarantees of the Fourteenth and Fifteenth Amendments,”

Morse, 517 U.S. at 234; it meets the Sandoval test for an intent

to create a private remedy. This intent is further evidenced in

Congress’ addition of § 14(e) to provide for attorneys’ fees to

prevailing parties “‘other than the United States.’” Id. at 233-

34 (quoting 52 U.S.C. § 10302(a)) (emphasis added).

     It therefore cuts against the VRA’s text to read § 12 of

the VRA, which gives the Attorney General power to enforce

various VRA sections, including § 11, as the exclusive method

for enforcing VRA § 11(b). See 52 U.S.C. § 10308. This is

particularly true because § 12 does not only reference § 11, it

also references § 10, which the Court found in Morse to be

enforceable by private action based on the statutory text. See

Morse, 517 U.S. at 233. A markedly different finding for § 11(b)

based on the same statutory text and valid Supreme Court

precedent would be an unjustifiable deviation.

     Moreover, the Supreme has explicitly stated that its new

approach was ushered in by Cort, which predated Morse. See

Sandoval, 532 U.S. at 286. Even if Sandoval signals a different

approach than Cort (which the Sandoval Court itself recognized

as the beginning of a new era, see Sandoval, 532 U.S. at 286)

and the reasoning of this Court, as Plaintiffs point out, the

Supreme Court has stated that “if a precedent of this Court . .


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. appears to rest on reasons rejected in some other line of

decisions, the [lower courts] should follow the case which

directly controls, leaving [the Supreme Court] the prerogative

of overruling its own decisions.” Agostini v. Felton, 521 U.S.

203, 237 (1997) (citation omitted). In this case, although the

Court agrees with the RNC that the Allen “approach to implied

rights of action has been overruled,” see RNC’s MTD, ECF No. 24

at 11; Morse still controls, and is supplemented by the Sandoval

analysis herein. For these reasons, the Court concludes that

§ 11(b) creates a private right of action.

              2. Plaintiffs Do Not Have Standing to Bring Their
                 VRA § 11(b) Claim

     Both the RNC and the Trump Defendants argue that

Plaintiffs, including the organizational Plaintiffs, do not have

standing to bring these claims because there is no injury in

fact. 7 Plaintiffs respond that the Complaint “more than

adequately pleads such injury.” Pls.’ Opp’n, ECF No. 35 at 19.

The Court concludes that Plaintiffs do not have standing to

bring their VRA claim.




7 The Trump Defendants also argue that the individual Plaintiffs
do not have standing to assert claims on behalf of individuals
in other states. Trump Defs.’ MTD, ECF No. 25-1 at 29-30. The
Court does not consider this argument since the individual
Plaintiffs do not assert claims on behalf of anyone else.




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     As a threshold matter, the Court addresses the question of

the types of relief available under the VRA, a necessary step to

frame the Court’s standing analysis. See Town of Chester v.

Laroe Ests., Inc., 137 S. Ct. 1645, 1650 (2017) (stating that

because “standing is not dispensed in gross,” a plaintiff “must

demonstrate standing for each claim he seeks to press and for

each form of relief that is sought.”) The RNC asserts that

“[e]quitable relief is the only relief available under the VRA.”

RNC’s MTD, ECF No. 24 at 11 (citing Cook v. Randolph Cty., Ga.,

573 F.3d 1143, 1155 (11th Cir. 2009); Olagues v. Russoniello,

770 F.2d 791, 804-05 (9th Cir. 1985); Windy Boy v. Big Horn

County, 647 F. Supp. 1002, 1023 (D. Mont. 1986); Webber v.

White, 422 F. Supp. 416, 426 (N.D. Tex. 1976)). Plaintiffs state

that their claims are “for declaratory judgment and for damages

under KKK Act § 1985(3),” as well as “an injunction to prevent

future voter intimidation given Defendants’ pattern of past

misconduct and indicia of continued misconduct.” Pls.’ MTD

Opp’n, ECF No. 35 at 17. Plaintiffs do not claim to be seeking

damages under § 11(b), and do not respond to the RNC’s arguments

for why damages are unavailable under that provision. See

generally Pls.’ Opp’n, ECF No. 35. The Court therefore treats

the point as conceded. See Int’l Union, United Gov’t Sec.

Officers of Am. v. Clark, 704 F. Supp. 2d 54, 60 (D.D.C. 2010)

(“It is a long-established policy that when a party’s opposition


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to a motion fails to respond to arguments raised by the opposing

party, a court may treat those unopposed arguments as

conceded.”). For the standing analysis, Plaintiffs’ burden is to

establish that they have standing to seek equitable relief under

§ 11(b). 8

     “Standing to sue is a doctrine rooted in the traditional

understanding of a case or controversy” under Article III.

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). The

Supreme Court has “established that the ‘irreducible

constitutional minimum’ of standing consists of three elements.”

Id. “The plaintiff must have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the

defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Id. An injury in fact must be “concrete and

particularized” and “‘actual or imminent, not conjectural or

hypothetical.’” Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992). The injury-in-fact requirement is meant to “ensure

that the plaintiff has a personal stake in the outcome of the

controversy.” Susan B. Anthony List v. Driehaus, 573 U.S. 149,


8 Declaratory and injunctive relief are equitable remedies.
Sierra Club v. U.S. Dep’t of Transp., 245 F. Supp. 2d 1109, 1114
(D. Nev. 2003); see also Cruz v. Am. Airlines, Inc., 356 F.3d
320, 328-29 (D.C. Cir. 2004) (analyzing injunctive and
declaratory relief together when considering whether plaintiffs
had standing).




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158, 134 S. Ct. 2334, 189 (2014) (internal quotation marks and

citation omitted).

     Plaintiffs seeking injunctive or declaratory relief must

“establish standing by demonstrating that, if unchecked by the

litigation, the defendant’s allegedly wrongful behavior will

likely occur or continue, and that the ‘threatened injury is

certainly impending.’” Laidlaw, Inc., 528 U.S. at 190 (citation

removed). In other words, “past wrongs” do not “themselves

amount” to the kind of “real and immediate threat” of future

injury “necessary to make out a case or controversy” for a claim

seeking only equitable relief. City of Los Angeles v. Lyons, 461

U.S. 95, 103 (1983) (citing Rizzo v. Goode, 423 U.S. 362, 372

(1976). Any threatened harm that is not both “real and

immediate” is “too speculative” to support standing. Lyons, 461

U.S. at 103; Laidlaw, Inc., 528 U.S. at 190.

     Here, the RNC argues that “Plaintiffs failed to ‘clearly

... allege’ facts supporting a real and immediate threat of

future harm.” RNC’s MTD, ECF No. 24 at 13 (citing Spokeo, 136 S.

Ct. at 1547). Section 11(b) makes it illegal to attempt to

“intimidate, threaten, or coerce ... any person for voting or

attempting to vote.” 52 U.S.C. § 10307(b). The RNC adds that

even if Defendants’ alleged past conduct violated § 11(b), there

is no threat of imminent future harm. RNC’s MTD, ECF No. 24 at

13. Plaintiffs do not specifically address any of Defendants’


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standing arguments as to the imminence of future harm, a

requirement to show standing for equitable relief. See Pls.’ MTD

Opp’n, ECF No. 35 at 18-21. Instead, Plaintiff state that “to

the extent that the RNC’s mootness argument also implicates

standing issues, Plaintiffs have established standing with

allegations showing they had a personal interest at the time

they filed suit.” Id. at 19. As the RNC rightly points out,

“Plaintiffs otherwise assume that the RNC ‘improperly

conflate[d] ... mootness and standing’ and frame the relevant

inquiry as one of mootness.” RNC’s MTD Reply, ECF No. 37 at 9

(citing Pls.’ MTD Opp’n, ECF No. 35 at 8).

     Plaintiffs argue that the MWRO and the NAACP have both

organizational and representational standing. ECF No. 35 at 19-

20. Plaintiffs allege that Defendants’ misconduct has forced

NAACP “to divert resources to monitor Defendants’ activities and

disseminate public education materials” to address the conduct.

Am. Compl., ECF No. 8 ¶ 84. They also allege that the NAACP has

members across the country who voted in the 2020 election and

who plan to vote in future elections.” Id. ¶ 12. While these

representations suffice to establish injury, they fail to meet

the standard required for establishing standing to seek

injunctive or declaratory relief, namely “demonstrating that, if

unchecked by the litigation, the defendant’s allegedly wrongful




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behavior will likely occur or continue, and that the ‘threatened

injury is certainly impending.’” Laidlaw, Inc, 528 U.S. at 190.

     Even if the points Plaintiffs make in their mootness

arguments were repeated in their arguments for standing,

Plaintiffs would not have demonstrated, as required when seeking

injunctive relief premised on past harm, that they are

“sufficiently likely to be personally subjected to the

challenged conduct again in order to have standing.” Chang v.

United States, 738 F. Supp. 2d 83, 90 (D.D.C. 2010) (Sullivan,

J.) (emphasis added). “[T]here are circumstances in which the

prospect that a defendant will engage in (or resume) harmful

conduct may be too speculative to support standing, but not too

speculative to overcome mootness.” Laidlaw, Inc., 528 U.S. at

170. This is one such case. The Court concludes that Plaintiffs

lack standing to bring their VRA claim because they have failed

to demonstrate that, “if unchecked by the litigation, the

defendant’s allegedly wrongful behavior will likely occur or

continue, and that the ‘threatened injury is certainly

impending.’” Laidlaw, Inc, 528 U.S. at 190 (citation omitted).

The RNC and Trump Defendants’ respective Motions to Dismiss, see

ECF Nos. 24, 25; are hereby GRANTED with respect to the VRA

claim. The Court consequently does not reach any of the VRA

merits arguments. The Court next discusses Defendants’ Motion to

Transfer.


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       D. Washington D.C. Is the Appropriate Forum for This Case

     28 U.S.C. § 1404(a) authorizes a court to transfer an

action to any other district where it might have been brought

“for the convenience of the parties and witnesses, in the

interest of justice.” Defendants move to transfer this case to

the Eastern District of Michigan, arguing that transfer is

warranted under 28 U.S.C. § 1404(a) because (1) “a substantial

part of the alleged events or omissions giving rise to

[Plaintiffs’] claims occurred in the Eastern District of

Michigan,” see Mot. to Transfer, ECF No. 21-1 at 12; (2) a large

majority of witnesses are in the Eastern District of Michigan,

see id. at 13; (3) Plaintiffs’ choice of venue is not entitled

to deference, id. at 15; (4) other private interest factors

weigh in favor of transfer, id.; and (5) other private interest

factors weigh in favor of transfer. The Court considers the

threshold requirement of whether this case could have been

brought in Michigan, then assesses the public and private

interest factors.

              1. This Case Could Have Been Brought in The Eastern
                 District of Michigan

     Defendants argue that venue is proper in Michigan because

“a substantial part of the events or omissions giving rise to

the claims occurred in Detroit, Michigan, which is situated in

the Eastern District of Michigan,” and therefore the first




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requirement for transfer under 28 U.S.C. § 1404(a) is met. Mot.

to Transfer, ECF No. 21-1 at 12. Plaintiffs respond that

Defendants’ “Motion to Transfer fundamentally misconstrues the

Amended Complaint as being almost entirely limited to

Defendants’ efforts to interfere with vote certification in

Wayne County, Michigan.” Pls.’ Transfer Opp’n, ECF No. 23 at 9.

The Court agrees with Defendants that this case could have been

brought in Michigan.

     On the one hand, in support of the claim that a substantial

part of the alleged events or omissions giving rise to

Plaintiffs’ claims occurred in the Eastern District of Michigan,

Plaintiff MWRO is based in Detroit and has “members who reside

in Detroit in Wayne County, Michigan, voted in the November 2020

election, and cast a ballot for President.” Am. Compl., ECF No.

8 ¶ 7. Plaintiffs allege that Defendants “have sought to prevent

the complete counting and certification of validly cast ballots

for President in Wayne County.” Id. Plaintiffs Maureen Taylor,

Nicole L. Hill, and Teasha K. Jones reside and voted in Detroit,

and Plaintiffs allege that Defendants “sought to disenfranchise

and disregard the lawfully cast votes” of these Plaintiffs. Id.

¶¶ 8-10. Further, Plaintiffs make several allegations relating

to the actions and omissions of Michigan officials purportedly

giving rise to Plaintiffs’ claims. See, e.g., id. ¶¶ 33, 35, 37,

41- 49. Plaintiffs also make allegations related to Defendants’


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intimidation of the Michigan State Board of Canvassers. Id. ¶

49.

      On the other hand, Plaintiffs argue that Defendants’

efforts “were developed in and directed from the District of

Columbia.” Pls.’ Transfer Opp’n, ECF No. 23 at 10. Former

President Trump resided in D.C. and made key phone calls,

invitations, and media statements in D.C, including hosting

significant press conferences and meetings. See, e.g., Am.

Compl., ECF No. 8, ¶¶ 38, 48, 23. The RNC is headquartered in

D.C. and hosted the Trump Campaign’s November 19, 2020, press

conference in D.C. Id. ¶ 72.

      The Court agrees with Defendants that few of the

allegations cited by Plaintiffs were specifically “pled as

occurring in Washington, D.C., and a good number of the

paragraphs in the Amended Complaint cited by Plaintiffs contain

allegations that occurred elsewhere.” Defs.’ Transfer Reply, ECF

No. 26 at 8. Nonetheless, the Court notes that the allegations

establish Michigan as one of just several states where

Plaintiffs were injured. While Michigan may be referenced more

than other states; Arizona, Nevada, Georgia, Wisconsin, and

Pennsylvania are all cited. See generally Am. Compl., ECF No. 8.

      The RNC also overly emphasizes the importance of Michigan

and downplays the role of other states in the Complaint. See

generally Mot. to Transfer, ECF No. 21. For instance, the RNC


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references Plaintiffs’ allegation that “fundraising dollars were

directed to the Michigan Republican Party and that one Defendant

[the RNC] produced and distributed training materials in

Michigan,” citing to the Amended Complaint. See Defs.’ Transfer

Reply, ECF No. 26 at 9. The more accurate statement, however, is

that “the RNC [] produced and distributed similar training

videos for volunteers in Wisconsin, Michigan, and other

battleground states.” Am. Compl., ECF No. 8 ¶ 64. Similarly, the

allegation as to fundraising details the fundraising amount

going to every battleground state, not just Michigan. Id. ¶ 68.

Further, Plaintiffs’ claim that Defendants “encouraged

volunteers and supporters to engage in conduct intended to and

that did result in intimidation, harassment, and coercion of

election officials” spans not just Detroit but “major

metropolitan areas with large Black populations,” including

Milwaukee. Id. ¶ 78.

     However, the question for the Court at this juncture is not

whether Michigan is the best venue for this case, but simply

whether its role is substantial enough that the case could have

been brought there. The Court agrees with Defendants that “a

substantial part of the events or omissions giving rise to the

claims” occurred in Detroit, Michigan, and this case could have

been brought there. See 28 U.S.C. § 1391(b)(2).




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              2. Private Interest Factors Weigh in Favor of This
                 Court

                   a. Convenience Factors Weigh in Favor of D.C.

     Convenience factors include the convenience of the parties,

convenience of the witnesses, and the ease of access to sources

of proof. Aracely, 319 F. Supp. 3d at 128-30. With regard to the

convenience of the witnesses, the Court considers “the

availability of compulsory process to command the attendance of

unwilling witnesses, and the cost of obtaining the attendance of

willing witnesses.” Hunter v. Washington Metro. Area Transit

Auth., No. CV 09-697 (EGS), 2009 WL 10693204, at *3 (D.D.C. Aug.

4, 2009) (Sullivan, J.). Courts have transferred actions when

the majority of witnesses live near the transferee forum, or

when the witnesses may not be subject to the subpoena power of

the transferor court. Pyrocap Int’l Corp. v. Ford Motor Co., 259

F. Supp. 2d 92, 98 (D.D.C. 2003) (quoting Claasen v. Brown, No.

94-1018, 1996 WL 79490, at *6 (D.D.C. Feb. 16, 1996)).

Persuasive authority has held that “[t]he most critical factor

to examine under 28 U.S.C. § 1404(a) is the convenience of the

witnesses.” Id. at 97 (quoting Chung v. Chrysler Corp., 903 F.

Supp. 160, 164 (D.D.C. 1995)).

     Defendants argue that “almost all the material witnesses in

this case, including many of the Plaintiffs, are located in [the

Eastern District of Michigan],” and “transferring this matter to




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the Eastern District of Michigan would substantially reduce the

costs to obtain the attendance of willing witnesses.” Mot. to

Transfer, ECF No. 21-1 at 13-14. Plaintiffs respond that they

“have identified that there are likely multiple RNC officials

and representatives of the other Defendants in this District,

and that there are likely officials and other individuals in

other states who will serve as material witnesses.” Pls.’

Transfer Opp’n, ECF No. 23 at 18. Plaintiffs add that the

“individual Plaintiffs have limited relevant evidence. The key

facts in this case involve the conspiracy to disenfranchise

voters or discount votes, which involves activities about which

the individual Plaintiffs have no relevant testimony.” Id. at

15-16. The RNC replies that “it has identified the location of

numerous potential witnesses and relevant evidence in its Motion

based on a fair reading of Plaintiffs’ Amended Complaint, and

none of these witnesses or evidence is located in Washington,

D.C.” Defs.’ Transfer Reply, ECF No. 26 at 14. For the reasons

explained below, the Court concludes that convenience factors

weigh in favor of Plaintiffs.

     In support of their convenience argument against transfer,

Plaintiffs cite three cases in which courts decided against

transfer because plaintiffs challenged policies developed in

Washington, D.C. by national policymakers located there. See

Aracely, 319 F. Supp. 3d at 127 (finding convenience factors


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were balanced because witnesses were in Texas, California and

D.C., but noting that “the government officials who allegedly

established, developed, and promoted the policy at the heart of

[the] case, and the documents related thereto, [would] likely be

found, if at all, in the District of Columbia.”); Accurso, 2018

WL 4964501, at *2 (finding convenience weighed against transfer

to where plaintiff was incarcerated in Texas because the

plaintiff’s challenge to a BOP policy likely would require

significant testimony and evidence from D.C.-based BOP

officials); Garcia, 393 F. Supp. 3d at 108-09 (holding in a case

challenging workers wage based on Department of Labor policy

that the inconvenience defendants suffered because witnesses and

evidence could be found in Chicago was outweighed by the fact

that plaintiffs challenged the applications of a national

policy, and the senior officials who crafted the policy and

documents related to the policy were presumably located in

D.C.). Defendants distinguish these cases by emphasizing that

“Plaintiffs in this case, by contrast, have not sued a single

government entity, and instead challenge discretionary

statements and actions by private actors that allegedly occurred

in a number of states and impacted Plaintiffs’ and their

members’ voting rights.” Defs.’ Transfer Reply, ECF No. 26 at

12. The Complaint does, however, allege that Defendants’ efforts

were “closely coordinated” and “systematic,” suggesting an


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approach akin to a nationwide policy. See Am. Compl., ECF No. 8

¶¶ 2, 20. This case is not about one-off events in Michigan, but

an allegedly nationwide approach adopted by former President

Trump and the RNC, both of whom happened to operate out of D.C.

Cf. Garcia, 393 F. Supp. 3d at 109.

     Defendants deny that there are any witnesses they have

identified in D.C., see Defs.’ Transfer Reply, ECF No. 26 at 14;

and argue that “many of the critical witnesses in this case

reside within the subpoena power of the Eastern District of

Michigan.” Mot. to Transfer, ECF No. 21-1 at 14. The Court

cannot agree, given the centrality of D.C. as then-President

Trump’s place of work, and the location of the RNC’s

headquarters, as well as the Complaint’s references to key

events occurring in D.C. See Am. Compl., ECF No. 8 ¶¶ 38, 48,

23, 72. In addition, the RNC’s “identification” of potential

witnesses, see Mot. to Transfer, ECF No. 21 at 7-8 leaves out

the fact that NAACP members are spread across the country. See

Am. Compl., ECF No. 8 ¶ 12. The potential witness list asserts

that the “majority of RNC staff responsible for the day-to-day

field operations of the RNC in Michigan during the period

preceding and following the 2020 General Election live in or

near Michigan,” Mot. to Transfer, ECF No. 21 at 8; but ignores

that Michigan is one of many states in which Plaintiffs

challenge Defendants’ conduct.


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     Defendants present no argument for why Michigan is a more

convenient or cost-effective forum for “State Election

Officials,” the “RNC State and Regional Staff,” the “Trump

Campaign State Staff”, and the “RNC and Trump Campaign State

Volunteers” who are located not just in Michigan but “throughout

the country in various other states.” Id. Given the scope of

Plaintiffs’ allegations in D.C. and other states nationwide, it

is not persuasive that Defendants’ “relevant state and regional

staff and volunteers reside in Michigan or nearby states and

[they] have made clear that the relevant state and local

election officials also reside in Michigan.” Defs.’ Transfer

Reply, ECF No. 26 at 14. As discussed supra, this case is about

a nationwide approach allegedly adopted by Defendants.

     As Plaintiffs point out, “there will be documents and key

witnesses located at the RNC’s headquarters in the District of

Columbia that are material to Plaintiffs’ case.” Pls.’ Transfer

Opp’n, ECF No. 23 at 18. “[M]aterial witnesses and evidence

concerning the RNC’s own campaign policies, communications among

Defendants, and other communications about 2020 election cycle

activities are presumably accessible from the RNC’s headquarters

in the District of Columbia.” Id. at 15. Defendants’ rebuttal to

this, see Defs.’ Transfer Reply, ECF No. 26 at 14; falls short

for the same reason as its witness argument: an unsupported

assertion that “based on a fair reading of Plaintiffs’ Amended


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Complaint,” they believe “none of these witnesses or evidence is

located in Washington, D.C.” Mot. to Transfer, ECF No. 21-1 at

14. The Court cannot agree that the RNC’s reading is actually

“fair,” since the RNC does not deny that its campaign policies,

key leaders, or campaign materials are located primarily in D.C.

     The Court agrees with Plaintiffs that “individual

Plaintiffs have limited relevant evidence. The key facts in this

case involve the conspiracy to disenfranchise voters or discount

votes, which involves activities about which the individual

Plaintiffs have no relevant testimony.” Pls.’ Transfer Opp’n,

ECF No. 23 at 16. The Court is also cognizant that Defendants

have not indicated that any of the witnesses are unlikely to

appear voluntarily. See Hunter, 2009 WL 10693204 at *3 (noting

that neither of the parties had argued that any of the witnesses

were unavailable or unwilling to testify). This is particularly

true of Plaintiffs, who are subject to the Court’s jurisdiction.

Based on the nature of Plaintiffs’ allegations, the Court

concludes that convenience factors weigh in favor of Plaintiffs’

chosen forum.

                   b. Key Claims Arose in D.C., Not Michigan

     Claims “arise” under 28 U.S.C. § 1404(a) in the location

“where most of the significant events giving rise to the claims

occurred.” Treppel v. Reason, 793 F. Supp. 2d 429, 436–37

(D.D.C. 2011) (citations omitted). Plaintiffs argue that


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“[w]hile some events alleged in the Amended Complaint

necessarily took place outside of the District of Columbia,

including the conduct that took place in Michigan and the many

other localities across the country targeted by Defendants’

disenfranchisement efforts, Plaintiffs have alleged that those

efforts were developed in and directed from the District of

Columbia.” Pls.’ Transfer Opp’n, ECF No. 23 at 10. Defendants

reply that “Plaintiffs allege for the first time in their

Opposition that there was some type of systemic or coordinated

effort by Defendants emanating from a COVID-shuttered 2020

Washington,” and this allegation therefore carries little

weight. Defs.’ Transfer Reply, ECF No. 26 at 14. The Court

disagrees.

     Although Plaintiffs do not explicitly allege that D.C. was

the operational center of the conspiracy in their Complaint, see

generally Am. Compl., ECF No. 8; they do allege a “systematic”

and “closely coordinated” effort by Defendants who they assert

are based in D.C., as well as the occurrence of several key

events in D.C., see id. ¶ 2 (asserting the RNC closely

coordinated with the Trump Campaign, notably through the “Trump

Victory” project, a joint endeavor of the RNC and the Trump

Campaign); id. ¶ 20 (alleging that Defendants’ “systematic

efforts – violations of the VRA and the Ku Klux Klan Act – have

largely been directed at major metropolitan areas with large


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Black voter populations); id. ¶¶ 38, 72 (describing a press

conference at the RNC’s headquarters in D.C. where Mr. Giuliani

discussed Defendants’ strategy to disenfranchise voters in

Michigan); id. ¶ 48 (noting that then-President Trump summoned

Michigan legislators to the White House to discuss Michigan).

Like in Garcia, even if potential witnesses are located

elsewhere (or here, spread across the country), the

inconvenience to Defendants is outweighed by the fact that

Plaintiffs challenged the applications of a “systematic” and

“coordinated” effort across the nation, and the senior officials

who crafted the policy and documents related to the policy were

located in D.C. while hosting key calls, events, conferences,

and meetings. See Garcia, 393 F. Supp. 3d at 109.

     The Court is not persuaded by Defendants’ citations to

Bergmann v. United States Department of Transportation, 710 F.

Supp. 2d 65, 73 (D.D.C. 2010), and Hi Tech Pharmaceuticals, Inc.

v. Federal Trade Commission. 6 F. Supp. 3d 95, 100 (D.D.C.

2013). Unlike those cases, for the reasons discussed above, the

instant action has far more connections to D.C., and far less to

the proposed transferee forum. Cf. Bergmann, 710 F. Supp. 2d 72-

73 (granting transfer where “the only real connection [the]

lawsuit has to the District of Columbia is that a federal agency

headquartered here . . . is charged with generally regulating

and overseeing the [administrative] process” and almost all of


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the challenged acts occurred in the transferee forum); Hi Tech,

6 F. Supp. 3d at 99-100 (granting transfer where the only

connection to the District of Columbia was the location of

defendant Federal Trade Commission’s headquarters and all claims

arose from an enforcement action in the transferee forum). The

Court concludes that D.C. is “where most of the significant

events giving rise to the claims occurred.” Treppel, 793 F.

Supp. 2d at 436–37.

                   c. Plaintiffs’ Choice of Forum Deserves
                      Deference

     A plaintiff’s choice of forum is ordinarily given

significant deference. Aracely, 319 F. Supp. 3d at 128

(citations omitted). “Substantially less deference is warranted,

however, when a plaintiff chooses a forum other than his home

forum.” Bergmann, 710 F. Supp. 2d at 71-72. The deference due to

Plaintiffs’ choice is also weakened when “most of the relevant

events giving rise to [their] claims occurred elsewhere.” Beall,

310 F. Supp. 3d at 103 (citing Aftab v. Gonzalez, 597 F. Supp.

2d 76, 80 (D.D.C. 2009)). For Plaintiffs’ choice of forum to

deserve deference, there needs to be a “substantial connection”

to their chosen venue. Dean v. Eli Lilly & Co., 515 F. Supp. 2d

18, 21 (D.D.C. 2007).

     Defendants argue that “the deference accorded to

Plaintiffs’ choice here is substantially reduced by the fact




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that Plaintiffs do not reside in Washington, D.C. and lack any

apparent connection to that venue.” Mot. to Transfer, ECF No.

21-1 at 15. Plaintiffs respond that Plaintiff NAACP does have

members who reside in D.C., and more importantly, Plaintiffs’

choice of forum is entitled to substantial weight because D.C.

has meaningful ties to this controversy. Pls.’ Transfer Opp’n,

ECF No. 23 at 18. The Court agrees with Plaintiffs.

     The Court has already discussed, see supra, that key events

giving rise to this case happened in D.C., where Defendants were

located. Defendants’ reliance on Dean, 515 F. Supp. 2d at 21,

is therefore misplaced, and Plaintiffs’ choice of forum is

granted deference given this case’s ties to D.C. The Court is

also unpersuaded by Beall, 310 F. Supp. 3d at 97. Defendants may

assert that as in Beall, they have strong ties to the proposed

transferee forum that should overcome Plaintiffs’ preference,

see Defs.’ Transfer Reply, ECF No. 26 at 16; but the fact

remains that unlike in Beall, the present forum is where

Defendants themselves are headquartered. See Beall, 210 F. Supp.

3d at 99. As Plaintiffs point out, the RNC is headquartered in

D.C.; the former President lived in D.C. and engaged in the

activities giving rise to this case from D.C.; and several of

Defendants’ actions, including press conferences, rallies, and

meetings with and calls to state officials, occurred in D.C. See

Pls.’ Transfer Opp’n, ECF No. 23 at 20.


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              3. Public Interest Factors Weigh in Favor of D.C.
     Courts also consider whether certain public interest

factors weigh in favor of transfer, including “(1) the

transferee’s familiarity with the governing laws, (2) the

relative congestion of each court, and (3) the local interest in

deciding local controversies at home.” Beall, 310 F. Supp. 3d at

103. Regarding the first factor, “[b]ecause all federal courts

are presumed to be equally familiar with the law governing

statutory claims,” id. at 106; this factor does not weigh either

for or against transfer to the Eastern District of Michigan. As

to the second factor, Defendants argue that this Court has not

yet familiarized itself with the underlying merits of the case

because the case is “in its earliest stages.” Mot. to Transfer,

ECF No. 21-1 at 17 (citation omitted). This argument does not

clearly address the relative congestion of each Court, and

therefore, as Plaintiffs point out, “does not weigh in favor of

transfer, nor do the publicly reported caseloads of the

districts.” Pls.’ Transfer Opp’n, ECF No. 23 at 21 (citing U.S.

Courts, Table C—U.S. District Courts, Civil Statistical Tables

for the Federal Judiciary (June 30, 2020),

https://www.uscourts.gov/statistics/ table/c/statistical-tables-

federal-judiciary/2020/06/30 (noting that the District of

Columbia and the Eastern District of Michigan have roughly



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equivalent numbers of civil cases pending)). Finally, the third

factor weighs against transfer because, as the Court has already

established, key events took place in D.C. where the RNC is

headquartered and former President Trump was working. Contrary

to Defendants’ assertion, it is not the case that a “clear

majority of the operative events took place in the transferee

venue.” Mot. to Transfer, ECF No. 21-1 at 17. The Court

concludes that public interest factors weight in favor of the

present forum. Combining the Court’s analysis on the public and

private interest factors, the Court concludes that the relevant

factors weigh in favor of keeping the case in D.C. The RNC’s

Motion to Transfer, ECF No. 21; and the Trump Defendants’ Motion

to Transfer, ECF No. 22; are therefore DENIED.




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  V.     Conclusion
       For the foregoing reasons, the RNC’s Motion to Transfer,

ECF No. 21, is DENIED; the Trump Defendants’ Motion to Transfer,

ECF No. 22, is DENIED; the RNC’s Motion to Dismiss, ECF No. 24,

is GRANTED IN PART as to Plaintiffs’ 52 U.S.C. § 10307(b) claim

AND HELD IN ABEYANCE IN PART as to Plaintiff’s 42 U.S.C. §

1985(3) claim; and the Trump Defendants’ Motion to Dismiss, ECF

No. 25, is GRANTED IN PART as to Plaintiffs’ 52 U.S.C. §

10307(b) claim AND HELD IN ABEYANCE IN PART as to Plaintiffs’ 42

U.S.C. § 1985(3) claim. An appropriate Order accompanying this

Memorandum Opinion was issued on March 31, 2022.

SO ORDERED.

       Signed:    Emmet G. Sullivan
                  United States District Judge
                  April 1, 2022




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